‫۽‬AO 245D     (Rev. 11/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                    UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF IOWA
        UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                           V.                                           (For Revocation of Probation or Supervised Release)
                  ERICA PIPKIN

                                                                        Case Number:                         CR 11-2005-11-LRR
                                                                        USM Number:                          11428-029
                                                                        E. Daniel O’Brien
                                                                        Defendant’s Attorney
THE DEFENDANT:

Ŷ admitted guilt to violation(s)                      as listed below              of the term of supervision.
Ƒ was found in violation of                                                       after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                              Violation Ended

1a&b, 6a-c                      Failure to Comply with Substance Abuse Testing                                   07/11/14
2a&b                            Failure to Report Change in Residence/Employment                                 05/16/14
3, 12                           Failure to Truthfully Answer Inquiries                                           07/09/14
4, 11                           Association with Persons Involved in Criminal Activity                           07/07/14
5, 10a-f                        Use of a Controlled Substance                                                    07/15/14
7a-h                            Failure to Comply with Residential Reentry Center Rules                          07/14/14
8                               Failure to Participate in Substance Abuse Treatment                              06/18/14
9                               Failure to Follow USPO Instructions                                              07/08/14


       The defendant is sentenced as provided in pages 2 through            4     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

Ƒ   The defendant was not found in violation of                                        and is discharged as to such violation(s).
Ƒ   The Court did not make a finding regarding violation(s)                                              .



         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                        July 28, 2014
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge


                                                                        Linda R. Reade, Chief U.S. District Judge
                                                                        Name and Title of Judge


                                                                          July 29, 2014
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              Sheet 2— Imprisonment

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                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :         9 months.




     Ƒ The court makes the following recommendations to the Bureau of Prisons:




     Ŷ The defendant is remanded to the custody of the United States Marshal.
     Ƒ The defendant shall surrender to the United States Marshal for this district:
          Ƒ    at                                   Ƒ a.m.         Ƒ p.m.       on                                          .

          Ƒ    as notified by the United States Marshal.

     Ƒ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          Ƒ    before 2:00 p.m. on                                          .

          Ƒ    as notified by the United States Marshal.

          Ƒ    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

at                                                     with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL




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            Sheet 3 — Supervised Release

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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :       24 months.



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
          The defendant shall not commit another federal, state, or local crime.
         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter as determined by the Court.
Ƒ     The above drug testing condition is suspended, based on the Court’s determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
Ŷ     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
      (Check, if applicable.)
Ŷ     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
Ƒ     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
Ƒ     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
 1)    the defendant shall not leave the judicial district without the permission of the Court or probation officer;
 2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
       officer;
 4)    the defendant shall support his or her dependents and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
       other acceptable reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substance, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any persons
       convicted of a felony, unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
       confiscation of any contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
       the permission of the Court; and
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
       defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
       notifications and to confirm the defendant’s compliance with such notification requirement.
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          Sheet 3C — Supervised Release
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                                    SPECIAL CONDITIONS OF SUPERVISION
    1) The defendant must participate in and successfully complete a program of testing and treatment fr
       substance abuse.

    2) The defendant is prohibited from the use of alcohol and is prohibited from entering bars, taverns, or
       other establishments whose primary source of income is derived from the sale of alcohol.

    3) The defendant must participate in a mental health evaluation and/or treatment program. The defendant
       must take all medications prescribed to the defendant by a licensed psychiatrist or physician.

    4) The defendant shall submit to a search of the defendant’s person, residence, adjacent structures, office
       or vehicle, conducted by a United States Probation Office at a reasonable time and in a reasonable
       manner, based upon reasonable suspicion or contraband or a violation of a condition or release; failure
       to submit to a search may be grounds for revocation; the defendant shall warn any other residents that
       the residence or vehicle may be subject to searches pursuant to this condition. This condition may be
       invoked with or without the assistance of law enforcement, including the U.S. Marshals Service.

    5) If not employed at a regular lawful occupation, as deemed appropriate by the U.S. Probation Office, you
       shall participate in employment workshops and report, as directed, to the U.S. Probation Office to
       provide verification of daily job search results or other employment related activities. In the event you
       fail to secure employment, participate in the employment workshops or provide verification of daily job
       search results, you may be required to perform up to 20 hours of community service per week until
       employed.

    6) Immediately following release from imprisonment, you must reside in a Residential Reentry Center for a
       period of up to 120 days. This placement will be in the community corrections component with work
       release privileges. While a resident of the Residential Reentry Center, you must abide by all rules and
       regulations of the facility. You must report to the Residential Reentry Center at a time and date to be
       determined by the Bureau of Prisons, the Residential Reentry Center, and the U.S. Probation Office.




Upon a finding of a violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition(s) of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



_____________________________________                                          _____________________
Defendant                                                                       Date



_____________________________________                                          _____________________
U.S. Probation Officer/Designated Witness                                       Date



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